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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  MARK SOKOLICH, et al.,                             Civ. No. 2:23-cv-21728-BRM-LDW
                       Plaintiffs,                   Hon. Brian R. Martinotti
        v.                                           APPLICATION FOR ADMISSION
                                                     PRO HAC VICE OF JOHN F. NELSON
  UNITED STATES DEPARTMENT OF
  TRANSPORTATION, et al.,                            PURSUANT TO D.N.J. L.CIV.R. 101

                       Defendants.


        Defendants the METROPOLITAN TRANSPORTATION AUTHORITY (the “MTA”),

 JOHN JANNO LIEBER, in his official capacity as Chair and CEO of the MTA, the

 TRIBOROUGH BRIDGE AND TUNNEL AUTHORITY (“TBTA”), CATHERINE T.

 SHERIDAN, in her official capacity as President of TBTA (substituted for named defendant

 DANIEL DECRESCENZO pursuant to Rule 25(d) of the Federal Rules of Civil Procedure),

 the TRAFFIC MOBILITY REVIEW BOARD (the “TMRB”), and CARL WEISBROD, in his

 capacity as Chair of the TMRB, by their undersigned counsel, hereby move this Court for an

 entry of an Order allowing the admission pro hac vice of:

        John F. Nelson, Esq.
        Sive, Paget & Riesel, P.C.
        560 Lexington Avenue, 15th Floor
        New York, NY 10022

        PLEASE TAKE FURTHER NOTICE that the undersigned certifies as follows:

        1.     I will comply with Local Civil Rule 101.1(c) and will be held responsible for

 the conduct of John F. Nelson, Esq.

        2.     I will ensure that John F. Nelson, Esq. complies with Local Civil Rule 101.1(c).

        3.     I or another attorney admitted to practice before the United States District Court
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 for the District of New Jersey will sign all pleadings, briefs and other papers filed with the

 Court.

          4.    I or another attorney admitted to practice before the United States District Court

 for the District of New Jersey will make all Court appearances required by the Court and the

 Local Rules.

          PLEASE TAKE FURTHER NOTICE that Defendants the MTA, JOHN JANNO

 LIEBER, in his official capacity as Chair and CEO of the MTA, TBTA, CATHERINE T.

 SHERIDAN, in her official capacity as President of TBTA (substituted for named defendant

 DANIEL DECRESCENZO pursuant to Rule 25(d) of the Federal Rules of Civil Procedure),

 the TMRB, and CARL WEISBROD, in his capacity as Chair of the TMRB, will rely upon the

 accompanying declaration of John F. Nelson, Esq. in support of this motion and that no brief is

 necessary as this motion raises no issue of law and the relief sought is within the Court’s

 discretion.


 Respectfully submitted this 6th day of December 2023.


                                                      /s/ Daniel Chorost
                                                      Daniel Chorost
                                                      SIVE, PAGET & RIESEL, P.C.
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                                                      Counsel for Defendants the MTA; John
                                                      Janno Lieber, in his official capacity as
                                                      Chair and CEO of the MTA; TBTA;
                                                      Catherine T. Sheridan, in her official
                                                      capacity as President of TBTA; the TMRB;
                                                      and Carl Weisbrod, in his capacity as
                                                      Chair of the TMRB



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